        Case 7:20-cv-00334 Document 1 Filed on 10/20/20 in TXSD Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,                          §
         Plaintiff,                                 §
                                                    §
 v.                                                 §     CIVIL ACTION NO. 7:20-cv-00334
                                                    §
 1.494 ACRE OF LAND, MORE OR LESS,                  §
 SITUATE IN STARR COUNTY, STATE OF                  §
 TEXAS, UNKNOWN HEIRS OF PETRA                      §
 RODRIGUEZ SANDOVAL, et al.,                        §
          Defendants.                               §

                              COMPLAINT IN CONDEMNATION

        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Program Management Office Directorate,

U.S. Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security, for

the taking of property under the power of eminent domain through a Declaration of Taking, and

for the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”

        5.      The legal description and map or plat of land in which certain interests are being

acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

Schedules “C” and “D.”

                                             Page 1 of 2
                                      Complaint in Condemnation
      Case 7:20-cv-00334 Document 1 Filed on 10/20/20 in TXSD Page 2 of 2




       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

acquired property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.

                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                                   By: s/Baltazar Salazar
                                                      Baltazar Salazar
                                                      Assistant United States Attorney
                                                      Attorney-in-Charge for Plaintiff
                                                      S.D. Tex. ID No. 3135288
                                                      Texas Bar No. 24106385
                                                      600 E. Harrison Street, Suite 201
                                                      Brownsville, Texas 78520
                                                      Tel: (956) 983-6057
                                                      Fax: (956) 548-2775
                                                      E-mail: Baltazar.Salazar@usdoj.gov




                                            Page 2 of 2
                                     Complaint in Condemnation
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 1 of 24




  SCHEDULE
     A
 Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 2 of 24




                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; the Act of Congress approved February 15, 2019, as Public Law 116-6,

div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used for

the taking.
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 3 of 24




  SCHEDULE
      B
 Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 4 of 24




                                     SCHEDULE B

                                   PUBLIC PURPOSE
       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 5 of 24




  SCHEDULE
     C
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 6 of 24




                                  SCHEDULE C

                              LEGAL DESCRIPTION

                                Starr County, Texas

Tract:  RGV-RGC-2026
Owner: Unknown Heirs of Petra Rodriguez Sandoval, et al.
Acres: 1.494
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 7 of 24




                         SCHEDULE C (cont.)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 8 of 24




                         SCHEDULE C (cont.)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 9 of 24




  SCHEDULE
      D
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 10 of 24



                             SCHEDULE D

                             MAP or PLAT

                       LAND TO BE CONDEMNED
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 11 of 24



                          SCHEDULE D (cont)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 12 of 24




                              SCHEDULE D (cont)




Tract: RGV-RGC-2026
Owner: Unknown Heirs of Petra Rodriguez Sandoval, et al.
Acreage: 1.494
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 13 of 24




    SCHEDULE
        E
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 14 of 24



                                      SCHEDULE E

                                     ESTATE TAKEN

                                    Starr County, Texas

Tract: RGV-RGC-2026
Owner: Unknown Heirs of Petra Rodriguez Sandoval, et al.
Acres: 1.494


       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;

        Reserving to the owners of the lands identified as Share 14 in Final Decree of
Partition, dated December 30, 1939, recorded on March 27, 1940, in Volume 114, Page 62,
as Document No. 1940-13857 in the Official Public Records of Starr County, Texas,
reasonable access to and from the owners’ lands lying between the Rio Grande River and
the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;

       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation, and maintenance of
the border barrier.
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 15 of 24



                          SCHEDULE E (cont)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 16 of 24




    SCHEDULE
        F
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 17 of 24




                                      SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION
       The sum estimated as just compensation for the land being taken is FORTY NINE

THOUSAND, SIX HUNDRED DOLLARS AND NO/100 ($49,600.00), to be deposited

herewith in the Registry of the Court for the use and benefit of the persons entitled thereto.
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 18 of 24




     SCHEDULE
        G
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 19 of 24




                                     SCHEDULE G

                                  INTERESTED PARTIES

        The following table identifies all persons who have or claim an interest in the
property condemned and whose names are now known, indicating the nature of each
person’s property interest(s) as indicated by references in the public records and any
other information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                           Reference
 Unknown Heirs of Petra Rodriguez           RGV-RGC-2026
 Sandoval                                   Final Decree of Partition, dated December
                                            30, 1939, recorded on March 27, 1940, in
                                            Volume 114, Page 62, Document No. 1940-
                                            13857, Official Public Records, Starr
                                            County, Texas
 Unknown heirs and/or devisees of           RGV-RGC-2026
 Ines Sandoval Barrera                      Final Decree of Partition, dated December
 (heir of Petra Rodriguez Sandoval)         30, 1939, recorded on March 27, 1940, in
                                            Volume 114, Page 62, Document No. 1940-
 Rene Eben Barrera and wife, Ninfa          13857, Official Public Records, Starr
 Barrera                                    County, Texas
 Address Unknown
 (heir of Petra Rodriguez Sandoval/Ines
 Sandoval Barrerra)

 Roberto Barrera, and wife Ernestina
 Barrera
 Address Unknown
 (heir of Petra Rodriguez Sandoval/Ines
 Sandoval Barrerra)

 Unknown heirs and/or devisees of
 Guadalupe Sandoval Cantu
 (heir of Petra Rodriguez Sandoval)

 Unknown heirs and/or devisees of
 Alfredo Cantu, Jr.
 (heir of Petra Rodriguez Sandoval/
 Guadalupe Sandoval Cantu)

 Raquel Cantu
 Address Unknown
 (spouse of Alfredo Cantu, Jr.,
 deceased)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 20 of 24




Maria Diola Cantu
Address Unknown
(heir of Petra Rodriguez Sandoval/
Guadalupe Sandoval Cantu)

Minerva Adamina Cantu de la Rosa
Address Unknown
(heir of Petra Rodriguez Sandoval/
Guadalupe Sandoval Cantu)

Unknown heirs and/or devisees of
Celestina Sandoval Barrera
(heir of Petra Rodriguez Sandoval)

Unknown heirs and/or devisees of
Arnold Barrera
(heir of Petra Rodriguez Sandoval/
Celestina Sandoval Barrera)

Unknown heirs and/or devisees of
Eden Barrera
(heir of Petra Rodriguez Sandoval/
Celestina Sandoval Barrera)

Linda Allison Barrera
Address Unknown
(spouse of Eden Barrera, deceased)

EJ Barrera and wife, Tammy
Barrera
Address Unknown
(heir of Petra Rodriguez Sandoval/
Celestina Sandoval Barrera/Eden
Barrera)

Steven Barrera and wife, Charlene
Barrera
Address Unknown
(heir of Petra Rodriguez Sandoval/
Celestina Sandoval Barrera/Eden
Barrera)

Lynda Barrera
Address Unknown
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 21 of 24




(heir of Petra Rodriguez Sandoval/
Celestina Sandoval Barrera/Eden
Barrera)

Gloria Barrera Gallardo and
husband, Silvestre Gallardo
Address Unknown
(heir of Petra Rodriguez Sandoval/
Celestina Sandoval Barrera)

Unknown heirs and/or devisees of
Jose Rufino Sandoval
(heir of Petra Rodriguez Sandoval)

Irma Hilda Sandoval

Roma, Texas
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)

Maria Bertha Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)

Martha Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)

Jose Rufino Sandoval, Jr.

Roma, Texas
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)

Alicia Sandoval
Address Unknown
heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.

Adelisa Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 22 of 24




Joel Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)

Angelica Sandoval Barrera
Address Unknown
(heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.)

Roma, Texas

Unknown heirs and/or devisees of
Javier Sandoval, Sr.
heir of Petra Rodriguez Sandoval/Jose
Rufino Sandoval, Sr.

Unknown heirs and/or devisees of
Encarnacion Sandoval
(heir of Petra Rodriguez Sandoval)

Unknown heirs and/or devisees of
Rogelio Sandoval
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Mari Rebecca Sandoval
Address Unknown
(spouse of Rogelio Sandoval, deceased)

Unknown heirs and/or devisees of
Adalberto Sandoval
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Adelaida Sandoval
Address Unknown
(spouse of Adalberto Sandoval,
deceased)

Unknown heirs and/or devisees of
Gustavo Sandoval, Jr.
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 23 of 24




Delia Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Daniel Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Maria Martina Sandoval Zavala
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Noelia Sandoval Guajardo
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandova)l

Eliza Sandoval Salazar
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Amador Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Unknown heirs and/or devisees of
Viola Sandoval Puente
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Unknown heirs and/or devisees of
Juan Roberto Sandoval
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Francesca Ponce Sandoval
Address Unknown
(spouse of Juan Roberto Sandoval,
deceased)
Case 7:20-cv-00334 Document 1-1 Filed on 10/20/20 in TXSD Page 24 of 24




Unknown heirs and/or devisees of
Fernando Sandoval
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval)

Eliza Marie Sandoval
Address Unknown
(heir of Petra Rodriguez Sandoval/
Encarnacion Sandoval/Fernando
Sandoval)
Javier Sandoval, Jr.                     RGV-RGC-2026
Address Unknown                          Affidavit of Heirship recorded April 25,
(heir of Petra Rodriguez Sandoval/Jose   2018, in Volume 1542, Page 470, Document
Rufino Sandoval, Sr./Javier Sandoval,    No. 2018-342446, Official Public Records,
Sr.)                                     Starr County, Texas
Ameida Salinas                           RGV-RGC-2026
Starr County Tax Assessor-Collector      Tax Parcel No. 24716
100 N. FM 3167 Suite 201                 Geo No. 00330-06600-01400-000000
Rio Grande City, Texas 78582
                           Case 7:20-cv-00334 Document 1-2 Filed on 10/20/20 in TXSD Page 1 of 2
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
United States of America                                                                                    1.494 Acre of Land, More or Less, Situate in Starr County, State of
                                                                                                            Texas, Unknown Heirs of Petra Rodriguez Sandoval, et al.,
    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant Starr
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

AUSA Baltazar Salazar, U.S. Attorney's Office, 600 E. Harrison Street,
Suite 201, Brownsville, Texas 78520, (956) 983-6057

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1        u 1      Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           40 U.S.C. 3113 and 3114
VI. CAUSE OF ACTION Brief description of cause:
                                           Land condemnation proceeding for fee simple interest to construct, install, operate and maintain border security.
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
10/20/2020                                                                s/Baltazar Salazar
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
                         Case 7:20-cv-00334 Document 1-2 Filed on 10/20/20 in TXSD Page 2 of 2
JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
